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1
                                 UNITED STATES DISTICT COURT
2
                                           FOR THE
3                                   DISTRICT OF COLUMBIA
4
     UNITED STATES OF AMERICA,
5
                    Plaintiff,
6
     vs.                                                           21-MJ-00014 (GMH)
7

8

9    ANTHIME GIONET,
10                  Defendant.
11
                        CONSENT MOTION TO CONTINUE STATUS HEARING
12

13          Defendant, Anthime Gionet, through counsel, respectfully requests this Court to
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     continue the status hearing currently set for March 22, 2022. Defendant also agrees to exclude
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     time under the Speedy Trial Act. The parties are requesting the status hearing to be reset out
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17
     between two to four weeks.

18          Counsel Joseph Scrofano is not available to appear on March 22, 2022, due to a
19   scheduling conflict. Also, disclosure of discovery remains ongoing in this matter.
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            The additional time is needed, and Defendant submits that the ends of justice are served
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     by additional time requested.
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            Respectfully submitted this 20th day of March 2022.
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1                                  THORNLEY LAW FIRM, PC.
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